                       IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF IOWA
                               CEDAR RAPIDS DIVISION

                                                 )
TRACEY K. KUEHL, et al.,
                                                 )
                                                 ) Case No. C14-02034-JSS
                      Plaintiffs,                )
       v.                                        )
                                                   DECLARATION OF TRACEY KUEHL
                                                 )
PAMELA SELLNER, et al.,                          )
                                                 )
                                                 )
                      Defendants.
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                                    Declaration of Tracey Kuehl

       I, Tracey Kuehl, declare that if called as a witness in this action I would competently testify

of my own personal knowledge as follows:

       1.      I am over the age of 18, of sound mind, and have freely given the testimony set

forth in this Declaration. I am fifty-nine years old, and I have lived in Iowa my entire life. I grew

up on a farm, and I always had pets and other animals around. My father raised dairy cows, hogs,

ponies, sheep, chickens, dogs, and cats. From a young age I helped around the farm with things

like animal care, cleaning the hog houses, feeding the pigs, administering shots to the pigs, and

baling hay. I developed a love and respect for animals through this experience. Today, I keep

goats, sheep, potbellied pigs, chickens, dogs, and cats, but I used to keep horses. I feel a special

bond with my animals. I consider myself their protector. I also enjoy visiting zoos where I can

observe animals I would not otherwise be able to visit. I feel that zoos, when appropriately

managed and maintained, offer a unique educational experience for visitors—especially young

children. I file this declaration on behalf of myself as an individual plaintiff and as a member of

the Animal Legal Defense Fund.

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       2.      For twenty years I served as Director of the Family Museum of Arts and Science,

a department of the City of Bettendorf. In connection with that work, I attended museum

conferences, which included visits to zoos, as many zoos are members of museum organizations.

This professional experience gave me a critical eye with respect to public health and safety as

well as the visitor’s overall experience. When I visit a zoo, I assess whether the animals appear

healthy and happy, the zoo is safe for visitors (particularly children), the zoo is clean, and

whether the zoo is doing everything it can to ensure that the visiting public is safe.

       3.      In addition to the Cricket Hollow Zoo in Manchester, Iowa, I have visited the

Blank Park Zoo in Des Moines, Iowa; the Niabi Zoo in Coal Valley, Illinois; the St. Louis Zoo in

Missouri; and the Atlanta Zoo in Georgia. I believe I have visited nearly every zoo within a 300-

mile drive of the Quad Cities. I have visited Blank Park Zoo three times (about once every five

years since 2005) and Niabi Zoo annually since the year 2000.

       4.      While traveling in northeastern Iowa in the spring of 2012, I saw an advertisement

for the Cricket Hollow Zoo in a local newspaper. My sister Lisa Kuehl later visited the Zoo in

June. Based on what my sister had told me and my strong concern for the animals that lived at

the Cricket Hollow Zoo, I decided to visit the Zoo myself on June 24, 2012, to find out more

about how the animals are treated and whether the Zoo is a safe environment for both the zoo

animals and human visitors.

       5.      I arrived at the Cricket Hollow Zoo late on the hot and sticky afternoon of June

24, 2012. The first thing about this zoo that really struck me was the smell. The pungent aroma

of feces, urine, and stagnated water engulfed the air—having been raised on a farm I am very

familiar with these particular odors. I gagged and coughed a number of times as I walked

through the Zoo, and I remember being appalled and disgusted. The smell was much worse than



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even my father’s hog barns, which I came into contact with almost daily growing up. As I

walked around the Zoo, I noticed that everything was damp and muddy with standing water in

many of the animals’ pens as well as in the public walkways. I felt constant harassment by the

swarming, biting flies that circled the animals and zoo visitors alike. I observed animal

excrement piled up in many of the animals’ pens, and there were open garbage piles everywhere.

(Ex. 8 at 0650). I also observed that several animals, including the tigers, lions, and wolves did

not have access to an indoor enclosure. In Iowa, the highs in the summer and lows in the winter

can be equally dangerous. I was very concerned about the animals’ lack of shelter, which I felt

directly, impacted their health, welfare, and overall comfort.

       6.      On June 24, 2012, in the “reptile house,” I observed a very large number of

animals in a small space, and the entire place was in disrepair. I noticed that the Zoo’s ring-tailed

and red ruffed lemurs could come inside the reptile house from their outdoor enclosures, and I

wondered if they would be frightened of the large lizards and snakes. I never actually saw the

lemurs because I could not see them from inside the reptile house, and their outdoor enclosures

were so small and dark that I could not view them.

       7.      After I gave up looking for the lemurs, I decided to go see the tigers. When I

arrived at the tiger exhibit, I immediately notice a white tiger standing in a wire-panel cage with

standing water and feces. The tiger looked forlorn and pathetic in the tiny, filthy enclosure. His

white fur was lightly dusted in dirt and soaking wet around his paws. I looked into his eyes and

felt his suffering deep in my soul. The sadness spoke to me, and I could hardly stand to view him

anymore. I took a photograph of the white tiger lying on his back in his small wire-panel

enclosure surrounded by excrement. (Ex. 8 at 0649). I noticed that the tiger did not have access

to an indoor facility but rather could only find shelter under a metal culvert that was half-buried



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in the ground. I was certain that the tiger would be hotter under the metal piping than anywhere

else within the enclosure. The white tiger did not move from his place on the ground during my

entire visit. The heat was next to unbearable, and I wished the tiger had somewhere to go to get

out of the sun.

       8.         A short while after I had arrived at the tiger enclosure, I heard a loud noise

coming from the lion enclosure. I turned to see a group of teenagers jumping back from the lion

enclosure while the lion was ramming itself into the cage fence. I could not bear to look at the

lion any closer because it was in obvious distress, and I did not want to make it more upset. No

staff responded to the lion ramming its head into the enclosure. The lion continued this repetitive

behavior long after I had left the area out of fear for my own safety. I could hear the constant

banging of its head onto the cage fence as I made my way through the rest of the Zoo.

       9.         After I left the Cricket Hollow Zoo on June 24, 2012, I could not stop thinking

about the smell at the Zoo, all of the filthy enclosures, the sad looking white tiger or the lion

ramming its head into its tiny cage. I felt a deep and lasting connection to the animals, and I

could not bear to know they were suffering as they lie in their small, feces-ridden cages with no

access to shade. My sister had been right about the conditions at the Zoo, and I was convinced I

needed to help her help the animals that were suffering there. I felt compelled to alert the

authorities because I was certain they would do something to relieve the suffering of the animals

at the Zoo. On June 25 and 26, 2012, I filed a complaint with both the Iowa Department of

Agriculture and Land Stewardship (IDALS) and the United States Department of Agriculture

(USDA) reporting my observations about problems with public health and safety and animal

welfare at Cricket Hollow Zoo. (Ex. 8 at 0656–0660). I also called the Delaware County




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Sheriff’s Office and asked them to perform a welfare check of the animals at the Cricket Hollow

Zoo, since I believed their conditions should have been of interest to law enforcement.

       10.     A couple of weeks went by, and I did not hear back from any government

authorities. I became restless as my concern for the animals at the Cricket Hollow Zoo deepened.

Temperatures soared, and I knew the tigers and lions had little relief from the blistering July sun.

Finally, I decided to return to the Zoo on July 6, 2012, in the late morning to see the animals

again and to make sure the tigers, lions, wolves, and other animals that had no access to relief

from the hot sun were okay. I observed the Zoo in essentially the same condition as it had been

in when I visited in June. There was still standing water, with no sign of any efforts to remove it.

There were still piles of animal feces in many of the animal enclosures and piles of open garbage

throughout. The goose pond was full of very scummy looking water with a dead rat floating in it.

(Ex. 8 at 0651). And the tiger, lion, wolf, bear, and other large carnivore enclosures still lacked

shelter from the elements.

       11.     On July 6, 2012, I took photographs of two tiger enclosures. The first photograph

depicts a lone tiger resting on pea gravel underneath its only form of entertainment or

enrichment—a tree branch. (Ex. 8 at 0652). Although the tiger was out of the sun, I noticed that

he was panting heavily and appeared lethargic. His enclosure was covered in excrement. The

second photograph shows two tigers lying nearly side-by-side underneath the metal culvert I had

observed in June. (Ex. 8 at 0653). Neither of the tigers moved the entire time I was there, and I

could only imagine how hot it must have been underneath the metal culvert lying next to each

other in the heat. In the photograph, I tried to show how many piles of feces were strewn about

the enclosure—there are three clear piles near the fence in varying degrees of decay as evidenced

by their discoloration.



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       12.     On July 6, 2012, I also looked in on the male lion I had seen beating its head

repeatedly into the side of the cage in June. I wanted to see if the zoo owners had improved his

enclosure but instead all I noticed was the smallness of the enclosure compared to the largeness

of the lion inside. I made note to research whether lions are social animals that require

companionship. I noticed that in addition to the smallness of the enclosure and the lion’s

isolation, the enclosure itself did not contain any objects for the lion’s entertainment. Seeing the

lion alone in the enclosure did not make me feel any better than when I had seen it beating its

head over and over. I was saddened by the lion’s apparent boredom and listlessness.

       13.     On July 6, 2012, the Cricket Hollow Zoo’s two lemurs were still isolated in small

enclosures that shared a room with the reptile house. A colleague took a photograph of the ring-

tailed lemur on July 7, 2012, because this was the first time anyone was able to view him. (Ex. 1

at 0014). My colleague’s photograph is a fair and accurate representation of the conditions at the

Zoo from my visit one day earlier. To me, the lemur in the photograph looks troubled and lonely.

The only sunlight in the enclosure takes up the size of maybe two shoeboxes. To this day, I have

never seen the lemur in person, which I believe is indicative of his sadness and isolation.

       14.     On July 6, 2012, I also observed the very sloppy and disgusting bear enclosure

made out of a wire corn crib. I took a photograph of the bear enclosure in order to show how

small and disgusting it was. (Ex. 8 at 0654). One bear rested on a platform, the other on the floor

of the corn crib. The enclosure was covered in animal waste and smelled horribly. Other than the

platform inside the enclosure, the bears had nowhere to go to get out of the sun, heat, or extreme

cold. Like many of the animals at the Cricket Hollow Zoo, the bears did not move while I was

there. Next to the bears’ corn crib, I saw a two-story wire cage with wire strand flooring and a

single bucket. Inside the bucket, I saw an albino raccoon. A large pile of feces was in a corner of



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the enclosure. I was concerned the raccoon’s feet could slip through the wire flooring and the

animal could get injured.

       15.     As I left the Cricket Hollow Zoo on my second visit, I concluded that the

inhumane conditions I had witnessed must be the normal operating conditions at the Cricket

Hollow Zoo. I felt upset and impatient with the government officials who continued to allow a

place like the Cricket Hollow Zoo to exist. I could not shake the feeling of connection to the

animals that I had felt at my previous visit—a connection that almost felt like the love mixed

with obligation I felt toward my own animals. I placed another call to the Delaware County

Sheriff’s Office requesting a welfare check on behalf of the animals due to the extreme July heat.

On July 6 and 7, 2013, I filed another round of complaints about the Zoo with USDA and

IDALS. (Ex. 8 at 0661–0669).

       16.     Later that month, my sister Lisa Kuehl visited the Cricket Hollow Zoo and was

detained by a deputy from the Delaware County Sheriff’s Office. Despite my concern for the

animals and my desire to visit them again throughout the following fall, I was afraid to visit them

out of fear of being detained or harassed. Instead, I focused on my advocacy work on their

behalf, and I met with Dr. Randy Wheeler, then the assistant state veterinarian working at

IDALS. I showed Dr. Wheeler photographs of the animals at the Zoo and expressed my concern

that the animals were being treated inhumanely. I tried to target areas of concern, so I highlighted

the lack of water, smell, flies, and lack of enclosures for getting out of the heat. Dr. Wheeler

listened to my concerns and seemed to at least understand my position, but to my knowledge, he

did not follow up on our visit with me or with the Zoo. Knowing that my repeated inquiries with

high level officials at IDALS yielded no response began to wear on my conscience. Meanwhile,

the animals at the Cricket Hollow Zoo continued to suffer.



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       17.       Even though no one seemed to care about the animal suffering at the Cricket

Hollow Zoo, I decided that I must keep trying; I would continue to press government authorities

to act to remediate the filthy and cramped enclosures. By this time I had formed a close bond

with the animals and had vowed to help them as much as possible. In early September of 2012, I

talked in person with IDALS Secretary Bill Northey about the Cricket Hollow Zoo. Stephen

Moline, director of both IDALS Food Safety and Animal Health and Consumer Protection

Divisions, attended our meeting as well. I hoped they might agree that an operation like Cricket

Hollow Zoo is not the type of agricultural venture that Iowa should be promoting, that the

Cricket Hollow Zoo is instead an embarrassment to agricultural tourism in Iowa. Secretary

Northey thanked me for my input, and I later copied him on another complaint to IDALS in mid-

April of 2014.

       18.       After my meeting with Secretary Northey, my compassion for the animals penned

up at the Cricket Hollow Zoo began to feel more like a responsibility. I felt like I was their voice

and simply could not ignore their suffering. I continued to seek a way to help the animals at the

Cricket Hollow Zoo. On November 27, 2012, I called the Iowa Department of Natural Resources

(IDNR) to inquire whether IDNR had jurisdiction over captive wildlife. That office referred me

to the local DNR officer in Delaware County. I also phoned the Delaware County Department of

Public Health regarding the conditions I had observed at the Zoo and the probable risks to public

health and safety, and I was referred to the Black Hawk County Health Department. The next

day, I called a gentleman at the Black Hawk County Health Department who told me I could

request a joint IDALS and USDA inspection of the Zoo. He contacted IDALS for me about a

possible joint inspection with the USDA and advised the joint inspection would be made if

warranted. I also spoke with the Delaware County DNR office about inspecting the Cricket



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Hollow Zoo. A day later I phoned the Delaware County Department of Public Health again. I

was doing everything I could think to help the animals.

       19.     On December 22, 2012, I again called the Delaware County Sheriff’s Department,

this time to express my concern about the welfare of the animals during a blizzard that went

through the area, requesting that a sheriff perform a welfare check of the animals. Later that day

I confirmed my request with a follow-up letter. That same day I filed a complaint with IDALS

expressing my concern about inadequate shelter especially for the lions at the Cricket Hollow

Zoo during blizzard conditions. I also sent a letter directly to Dr. Robert Gibbens, Director of the

Western Region of USDA’s Animal and Plant Health Inspection Service (APHIS) about my

ongoing concerns.

       20.     Two weeks later, on January 2, 2013, I tried another approach. I called and left a

message with Steve Moline at IDALS about whether Iowa Code Chapter 162.10A, which deals

with the care of animals in commercial establishments, imposed any standard of care

requirements on the Cricket Hollow Zoo that IDALS should be enforcing. That same day I also

spoke by telephone with Manchester Mayor Milt Kramer regarding the conditions at the Cricket

Hollow Zoo and its impact on public health and safety. I expressed my concerns to him about the

Zoo in his community, but he told me that I should speak instead with the county supervisors.

       21.     The next day, on January 3, 2013, still trying to find a way to help the animals

about whom I worried, I followed Mayer Kramer’s advice and phoned the Delaware County

Board of Supervisors. I reached Supervisor Jeff Madlom and expressed to him my concerns

about the Cricket Hollow Zoo. He said there was not much he could do since Delaware County is

a “no-zone county.” He simply referred me to the local DNR office in Manchester, which I did

phone along with the state office, but again I was referred back to IDALS. That same day I spoke



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with a secretary at the Delaware County Conservation Office about inspecting the Zoo.

Likewise, she said that if I was concerned about the animals, then I should call the USDA. She

gave me the phone number for the USDA and one of its inspectors.

       22.     The following day, on January 4, I spoke by telephone with Iowa State

Veterinarian Dr. Dave Schmitt regarding Iowa Code Chapter 162.10A and its relationship to the

Cricket Hollow Zoo. He was following up on the January 2 call I placed to Stephen Moline. I

told him I thought the conditions at the Zoo were inhumane, and he insisted that IDALS

conducts inspections. I also spoke by telephone with Dr. Randy Ridenour, a USDA inspector

supervisor, regarding the USDA’s inspection process and expressing my concern about

maintaining tigers and lions in a roadside zoo setting, like the Cricket Hollow Zoo. He explained

USDA’s emphasis on large field nutrition, which I found to be a wholly inadequate justification

for allowing someone to contain large animals like tigers and lions in tiny enclosures without

access to exercise. I became more and more desperate to help the suffering animals at the Cricket

Hollow Zoo and had nowhere to turn. I had become attached to the tigers and lions who seemed

so out of place in their tiny enclosures. On at least one occasion, I had observed a lion lashing

out at the public for what could only be constant harassment from zoo visitors. I am not an

animal behavior expert, but I have never seen an animal bang its head into an enclosure

repeatedly at any other zoo.

       23.     On April 24, 2013, I spoke by telephone with Dr. Kate Ziegerer, a USDA

veterinarian who supervises the other inspectors responsible for the Cricket Hollow Zoo. We

discussed USDA’s inspection process, and I inquired about the protocol for the public to submit

their concerns to USDA.




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       24.     In May, USDA posted its inspection report from its February 13, 2013, visit on its

Freedom of Information Act (FOIA) Reading Room. USDA inspectors cited the Cricket Hollow

Zoo for myriad violations of the Animal Welfare Act. (Ex. 1 at 0039–0041). According to USDA

inspector Dr. Heather Cole, DVM, “[w]ithin the back of the reptile house, where the lemurs and

capuchin are housed, there is a large accumulation of chicken feathers, dust, dirt, and/or used

sawdust bedding throughout the floor around the building.” An electrical outlet with several

items plugged in was next to this obvious fire hazard. Moreover, Dr. Cole cited the Zoo for dust,

dirt, or used bedding scattered across the floor in the non-human primate building. The floor of

the primate building were “either completely gone exposing the wooden sub-floor or [were]

partially detached from the sub-floor.” Dr. Cole also cited the Zoo for a large accumulation of

feces within three of the tiger enclosures, two of the lion enclosures, and the gray wolf enclosure:

“There are large piles of feces in the corners and smaller piles scattered throughout each

enclosure.” Within the reptile house, where the lemurs are housed, the walls were filthy and

covered with animal oils and feces. After reading about the deplorable conditions at the Zoo,

which confirmed the kinds of inhumane conditions that I had viewed with my own eyes, I

became despondent. I had been trying to improve the lives of the animals who so needlessly

suffered for more than a year to absolutely no avail. My emotional attachment to the animals had

caused me to abandon other areas of my life in favor of advocating on their behalf. I was feeling

more and helpless every day. Nevertheless, on May 19, 2013, I sent off yet another complaint to

USDA, but I also submitted a FOIA request to USDA for documents related to any activities the

government had taken in response to my previous complaints and the February 2013 inspection.

       25.     On June 23, 2013, I felt like enough time had passed since my sister’s encounter

with the Delaware County Sherriff’s Office, and I was comfortable enough to return to the



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Cricket Hollow Zoo—this time with my husband. I had been concerned about the animals during

the off-season and wanted to see if, as a result of the USDA’s inspection reports and citations,

the Zoo had made any improvements to the animal enclosures and the other human and animal

health and safety risks on the property. Although I observed that the owners appeared to have

removed some of the garbage, I noticed many other upsetting conditions as I walked around the

animal enclosures. The young Meishan pigs had no access to water and many fences suffered

from exposed sharp edges—including those in the big cat enclosures—with the potential to

injure both animals and humans. Further, the llama, cattle, zeedonk, sheep, and Meishan pig

(including infant pigs) enclosures provided the opportunity for unsupervised direct contact

between zoo animals and visitors. Everything was filthy and muddy. I took photographs of the

conditions at the Zoo on July 23, 2013. One of those photographs shows a camel lying in its own

waste, covered in mud. (Ex. 8 at 0644).

       26.     On June 23, 2013, I noticed that zoo patrons can buy grain to feed to the hooved

animals and something that looks like dog food to feed the bears, baboons, and wolves. There

was no staff to ensure that people and animals stay safe during this process or to ensure that the

people give the right type of food to the animals. Only Pamela Sellner, the zoo owner, was

present, and she was seated at the admissions area during my entire visit. I bought the food to

feed to the gray wolves, who seemed a little too eager for the provision of food. I also observed

that the wolf enclosure was once again wet, muddy, and caked in feces. I took a photograph of

the wolf, who came right over to its feeding tube for my food. (Ex. 8 at 0648). The wolves’ ears

were sore and red from what appeared to be insect bites. I looked in on the tigers and lions, all of

whom were quiet in their small, feces-ridden enclosures. Finally, I looked in on Obi the baboon,




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Chuki the ring-tailed lemur living next door to him, and the serval. Chuki was still living alone,

and his neighbor, the red ruffed lemur was still nowhere to be found.

       27.     On June 23, 2013, I paid careful attention to the environmental enrichment inside

the animal enclosures and observed that from 2012 to 2013, the Zoo had made almost no

changes to any of the animal enclosures. The Meishan pig enclosure included a new and larger

shed, but all of the other animal enclosures were exactly the same as I had observed when I

visited in 2012: the same logs in the same places, with virtually no other form of enrichment for

the animals, including the lions, the tigers, the wolves, the lemurs, and the serval. I took

photographs of a lion (Ex. 8 at 0645), two tigers (Ex. 8 at 0646), and the wolf (Ex. 8 at 0647). I

did not see any of the large cats move on June 23, 2012, and I noticed that the Zoo had not made

any improvements to any of the enclosures. The tigers and lion were still surrounded by feces

with minimal access to shade or elevated platforms, and the wolf was still enclosed in a small

wire-panel cage with a single log and plywood house. Moreover, the lemurs remained isolated in

their dark, tiny enclosures that shared a connection with the reptile house. This was the last time

I could stomach visiting the Zoo, because it created too much anguish for me to observe the

animals in those extremely inhumane conditions. No animal should live in such filthy, cramped

conditions without any stimulation.

       28.     After I returned home, I looked up the Cricket Hollow Zoo on the USDA’s online

FOIA Reading Room and discovered that the USDA had inspected the Zoo on June 12, 2013. A

few days later, on June 27, I filed another complaint before with the USDA regarding my visit of

June 23 and incorporated the inspector’s citations of June 12, 2013. (Ex. 8 at 0670–0672). The

USDA confirmed its receipt of my complaint on July 12, 2013, but did not indicate that it would

remedy the problems at the Cricket Hollow Zoo. The USDA did, however re-inspect the Zoo on



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July 31, 2013, and documented thirteen non-compliant items including failure to provide

environmental enhancement and psychological well-being to non-human primates housed at the

Cricket Hollow Zoo. The content of the report, coupled with thinking about the Zoo’s lemurs

living isolated in their tiny, dark enclosures upset me, so on September 6, 2013, I fired off

another letter to USDA requesting immediate action. I also sent another letter to Secretary

Northey, Stephen Moline, and Dr. Dave Schmidt at IDALS regarding the USDA’s inspection

findings of July 31, 2013. Meanwhile I knew that the animals at the Cricket Hollow Zoo

continued to languish.

       29.     Winter 2014 proved especially cold in the Midwest as a weather condition known

as the polar vortex ripped through the area. On January 27, 2014, and April 30, 2014, I filed two

more complaints with IDALS and the USDA relating to winter conditions, previous inspection

findings, and my personal observations about the Cricket Hollow Zoo. I also sent another letter

to Dr. Robert Gibbens and filed a complaint with both IDALS and the USDA regarding

unsuccessful attempts to perform USDA inspections at the Cricket Hollow Zoo. The inspections

were unsuccessful because when the USDA had arrived at the Zoo, no responsible adult was

present to enable an inspection to take place. I continued to review USDA inspection reports on

the USDA’s FOIA Reading Room, which only served to maintain my personal concern for the

welfare of the zoo animals, and file formal complaints with the USDA regarding each report.

None of these efforts appeared to secure any relief for the animals toward whom I had developed

an attachment and a sense of responsibility.

       30.     In November, the USDA posted an inspection report of the Cricket Hollow Zoo

from its October 7, 2014, site visit. In it, Dr. Margaret Shaver cited the Zoo for failing to obtain

necessary veterinary care for a male, white tiger named “Casper” with “an open wound on the



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inside of the left front leg that is about two inches by three inches in size.” (Ex. 2 at 0262). The

wound was red and swollen and the skin pulled back exposing red tissue in two places. I had

never seen Casper, and I was not sure how and when he had arrived at the Cricket Hollow Zoo,

but this citation alarmed me. By this time, we had filed a lawsuit against the owners of the

Cricket Hollow Zoo, so I asked my attorney to inquire about Casper’s welfare. Despite repeated

inquiries, the defendants never let us know how Casper was doing until, in response to an

interrogatory in February 2015, the defendants revealed that Casper had died from pneumonia in

November 2014. (Ex. 3 at 0272). Moreover, in the same interrogatory response, the defendants

confessed that another tiger named “Luna” had died that same winter from “e-coli,” which I

know to be a treatable infection. (Ex. 3 at 0272). According to acquisition records produced by

defendants, both Casper and Luna had been acquired by defendants on July 10, 2014, from the

Animal Haven Zoo in Weyuwega, Wisconsin. (Ex. 4 at 0285). So in just four short months, two

tigers had died at the Cricket Hollow Zoo. I was shocked and saddened by the news of Casper

and Luna’s deaths, as I thought perhaps the Zoo would change its protocols and improve its

treatment of the animals as a result of the lawsuit. I could not have been more wrong, and I was

devastated that my efforts to save the animals at the Cricket Hollow Zoo had completely failed.

       31.     Recently, I wondered if any other animals had died at the Cricket Hollow Zoo

without my knowledge, so I went through the USDA’s history of “animal counts” at the Zoo.

The USDA counted two ring tailed lemurs and one red ruffed lemur as of February 2011, but by

May 2012, USDA only lists one ring tailed lemur and one red ruffed lemur. Through discovery

in this lawsuit, I learned that a ring tailed lemur named Kondo died at the Cricket Hollow Zoo on

July 31, 2011, from an “unknown” cause. (Ex. 3 at 0272). Apparently, the zoo owners purchased

another ring tailed lemur sometime between May 2012 and October 2014 because by October



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2014, USDA lists two ring tailed lemurs and one red ruffed lemur. I believe the new ring tailed

lemur’s name was Zaboo because that is what Pamela Sellner called him in her deposition on

March 20, 2015, though I do not know if Zaboo is still alive because as of March 5, 2015, USDA

notes that the Cricket Hollow Zoo only has one ring tailed lemur and one red ruffed lemur again.

(Ex. 2 at 0266).

       32.     As the history of my many efforts to local, state, and federal authorities to

intervene at the Cricket Hollow Zoo makes clear, I have maintained a sincere and ongoing

commitment to the animals at the Cricket Hollow Zoo, including the endangered animals that are

the subject of this lawsuit. After my visit in July 2013, I stopped visiting the zoo—not because I

stopped caring about the animals but because I could no longer tolerate seeing them in such

deplorable conditions. It has been a source of anguish to me that I have had to choose between,

on the one hand, avoiding the Zoo entirely in order not to feel terrible when seeing the animals

that way and, on the other hand, visiting the animals with whom I feel connected but feeling

terrible while doing so given their inhumane treatment. Either of these options are undesirable to

me because either way I feel terribly. I do not feel that I should have to choose between these

options, and I would prefer to see the animals living in humane conditions. If the tigers, lions,

lemurs, and wolves were moved to a better facility, like a reputable sanctuary, I would certainly

go visit them and have the resources to do so.

       33.     The photographs and letters attached to this Declaration as Exhibit 8, pages 0644

to 0672 are true and accurate copies of the photographs I took on the dates indicated and fairly

represent the conditions I observed at the Cricket Hollow Zoo. The letters are true and accurate

copies of the letters I drafted contemporaneously with the events noted in the letters.


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       Pursuant to 28 U.S.C. 1746, I certify under penalty of perjury that the preceding is true

and correct. I authorize electronic signature of this declaration and provide Plaintiffs’ counsel

with my original signature page.


                                                      /s/ Tracey Kuehl
                                                      Tracey Kuehl
Executed on this 1st day of June, 2015.




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